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Certificate of Service

I certify that February 1, 2019, a copy of this pleading was served by electronic means through the ECF
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Erik LeRoy

/s/ Erik LeRoy
